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                                UNITED STATES DISTRICT COURT
                                NORTHERN DISTRICT OF INDIANA
                                    FORT WAYNE DIVISION



KEVIN R. CAMPBELL,                   )
       Plaintiff,                    )
                                     )
V.                                   )               CASE NO.
                                     )
REGAL ASSETS, LLC and                )
KINGDOM TRUST COMPANY,               )
      Defendant(s).                  )

                                         COMPLAINT

       Comes now Kevin R. Campbell (“Plaintiff’) and for his Complaint against Regal Assets,
LLC(“RA”)and Kingdom Trust Company(“KTC”)together the (“Defendants”) states as
follows:

                                           PARTIES

        1. Kevin Campbell is an individual, over the age of 18, with the capacity to contract and
resides in Fort Wayne,Indiana, Allen County, and is a citizen ofIndiana.

       2. Defendant, RA,is a limited liability with its headquarters located at 280 South Beverly
Drive, 5th Floor Beverly Hills, CA 90212, and is a Delaware limited liability company.

       3. Defendant, KTC,is a company with its headquarters located 1105 State Route 121
North Suite B Murray, KY 42071, and is a Kentucky Company.

                                JURISDICTION AND VENUE

       4. This Court has jurisdiction in accordance with 28 U.S.C. § 1332(diversity of
citizenship and the amount in controversy) in that the Plaintiff is an Indiana resident.

        5.Complete diversity exists in that the first Defendant, RA,is headquartered in California
and is presumed to be a Delaware limited liability company.

      6. Complete diversity exists in that the second Defendant, KTC,is headquartered in
Kentucky, and is presumed to be an Kentucky company.

       7. Plaintiff contends that the amount ofdamages suffered and the amount in controversy

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presented in this action exceeds seventy-five thousand dollars ($75,000.00).

       8. Venue is appropriate in the United State District Court for the Northern District of
Indiana, Fort Wayne Division as this is the judical district of the Plaintiffs principal residence.

                            FACTS COMMON TO ALL COUNTS


               Plaintiff sought in March 22, 2021, to set up an account with KTC to purchase
               gold through RA,the CEO Tyler Gallagher sent an email confirmation confirming
               the ability to accept and complete the transaction, said emails is attached hereto
               and made a part hereof as Exhibit A.

       9.      Plaintiff was using KTC as an intennediary to purchase precious metals in his
               40IK that was from another 401k account the Plaintiff had with another financial
               institution.

       10.     Plaintiff filled out the account transfer fonn for KTC to wire $250,000.00 to his
               trust account with KTC with the number RAP032908, said Account Transfer
               document is attached hereto and made a part hereof as Exhibit B.

       11.     The money was transferred to KTC an account per the above.

       12.     RA issued an Invoice to KTC FBO Kevin R. Campbell on April 9, 2021 for the
               purchase of precious metals, said invoice is attached hereto and made a part
               hereof as Exhibit C.

       13.     The money was supposedly sent to RA per a Fee Action Request from was
               produced to purchase the metals and charged Plaintiff $175.00 in fees he paid
               with a credit card on or around May 7, 2021, said document is attached hereto and
               made a part hereof as Exhibit D.

       14.     Plaintiff waited until July 28, 2021 and contacted RA regarding the lack of gold
               being put into his account. On the same day RA CEO responds he will address it
               with his team. The email chain is attached hereto and made a part hereof as
               Exhibit E.

       15.     KTC issued reports for the Kevin R. Campbell Traditional IRA and indicated the
               account balance of $250,000.00 from 1/1/2021 to 12/31/2021, and indicated a
               “pending precious metals purchase”, per the statement attached hereto and made a
               part hereof as Exhibit F.

        16.    KTC issued to Plaintiff a Form 5468 for 2021 that indicated a value of
               $250,000.00, said statement is attached hereto and made a part hereof as Exhibit


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             G.

      17.    KTC then issued a letter on January 20, 2022, indicating it will cease working
             with RA anymore, yet will work with RA to complete all pending orders. Said
             letter is attached hereto and made a part hereof as Exhibit H.

      18.    KTC then issued an additional letter dated July 1, 2022, indicating a similar
             course of action, yet the order has not been completed. Said letter is attached
             hereto and made a part hereof as Exhibit I.

      19.    Plaintiff contacted counsel to contact RA in August 2022 and he sent an email
             demanding return of the $250,000 to KTC. Said email is attached hereto and made
             a part hereof as Exhibit J.

      20.    RA failed to respond and has not responded to the Plaintiff or his counsel.

      21.    On August 30, 2022, counsel for Plaintiff sent a demand and indicated failure to
             turn over assets would result in a claim for conversion, violation of fiduciary duty,
             and fraud. Said letter is attached hereto and made a part hereof as Exhibit K.

                           Count I-BREACH OF CONTRACT

      22.    Plaintiff incorporates by reference the above allegations of fact paragraphs 1-21 as
             fully set forth herein.

      23.    KTC and RA had a contract with Plaintiff to purchase precious metals for him.

      24.    The contract was breached by KTC and RA as no metals were purchased and the
             Plaintiff is out $250,000.00.

      25.    The Plaintiff demanded a refund of the money and the breach continues.

      26.    The Plaintiff should be given pre-judgment interest on his money as he has been
             without the use of the money during this time.

       WHEREFORE,Plaintiff prays for a judgement against KTC and RA for the $250,000.00
plus pre-judgment interest and all other relief that is just and proper.

                       Count II-BREACH OF FrPUCIARY DUTY

      27.    Plaintiff incorporates by reference the above allegations contained in paragraph 1-
             26 as fully set forth herein.




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       28.    KTC is a fiduciary as an agent that holds money for individuals as a business.

       29.    RA is a fiduciary as an agent that holds money or assets for individuals as a
              business.

       30.    KTC and RA breach its fiduciary duty to the Plaintiff in that they have refused to
              return the $250,000.00 intrusted to them to accomplish the contracted objective.

       31.    KTC and RA have breach their fiduciary duty by not returning the $250,000.00 to
              Plaintiff.

       32.    KTC and/or RA have the $250,000.00 that has been transferred to them and
              Plaintiff has not received the precious metals in his account for a term of more
              than fourteen (14) months.

       33.    KTC and/or RA have benefitted from use and control of Plaintiffs $250,000.00
              for their purposes as there has been no benefit to Plaintiff.

       34.    KTC and/or RA are fiduciary as defined by Indiana Code 6-3-1-7,''fiduciary”
              means any guardian, trustee, executor, administrator, receiver, conservator, or any
              person, whether individual or corporate, acting in any fiduciary capacity for any
              individual, trust, guardian or estate.

       WHEREFORE,Plaintiff seeks judgement against Defendants KTC and/or RA for their
breach of fiduciary duty to him and for the recovery of $250,000.00 plus pre-judgment interest
and cost and farther relief as is just in the premises.

                                       Count III-FRAUD

       35.    Plaintiff incorporates and reasserts paragraphs 1 -35 as if fully restated herein.

       36.    KTC and/or RA represented to Plaintiff the $250,000.00 could be put in the care
              and trust to purchase precious metals to benefit his 401K.

       37.    At the time they made the representations they did not intend to purchase the
              precious metals to benefit Plantiff s 40IK.

       38.    KTC and/or RA have kept the $250,000.00 and no precious metals have been
              purchased or produced.

       39.    KTC and/or RA made representations by emails that the metals would be
              purchased and they have will seek to have great customer service.




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      40.    Despite more than a full year KTC and/or RA knew they were not going to
             provide the precious metals.

      41.    Despite the demand letter of Plaintiffs counsel no money has been returned and
             not precious metals have been purchased in the Plaintiffs 401K.

      42.     KTC and RA's actions or concert of actions violated Indiana Code § 35-43-5-4.

      43.    Pursuant to Indiana Code § 34-21-3-1 the Plaintiff should receive treble damages,
             cost, and attorney fees.

        WHEREFORE,Plaintiff prays for judgment against the Defendants for the $250,000.00,
treble damages, cost, attorney’s fees, and all other relief that is just and proper.

                                  Count IV-CONVERSION

      44.     Plaintiff incorporates and reasserts paragraphs 1 -43 as if fully restated herein.

      45.     KTC and RA obtained the $250,000.00 from Plaintiff under a false promise of
              purchasing precious metals.

      46.     Plaintiff worked with them for more than 12 months to allow them time to work
              through issues.

       47.    Plaintiff demanded the return of the $250,000.00 through counsel and allowed the
              return of the property for ten (10) days.

       48.    As of September 28, 2022, the property has not been returned to the Plaintiff

       49.    As of the September 28, 2022 no precious metals have been purchased in
              Plaintiffs 40IK for him.

       50.    The Defendants have violated Indiana Code §35-43-4-3 Conversion.

       51.    Pursuant to Indiana Code § 34-21-3-1 the Plaintiff should receive treble damages,
              cost, and attorney fees.

        WHEREFORE,Plaintiff prays for judgment against the Defendants for the $250,000.00,
treble damages, cost, attorney’s fees, and all other relief that is just and proper.

                                Count V-PUNITIVE DAMAGES

       52.    Plaintiff incoiporates and reasserts paragraphs 1-51 as if fully restated herein.


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       53.     The Defendants actions herein are so egregious the warrant punitive damages.

       54.     Plaintiff has sought out reliable companies to invest his 401K retirement founds to
               protect his families future.

       55.    The Defendants either through extreme recklessness or an out right nefarious
              scheme have deprived the Defendant of his $250,000.00 investment for more than
              four-teen (14) months.

       56.     The demands and request for cure were ignored.

       57.    I'he Defendants acts will continue to hurt innocent investors if not curbed.

       58.     The Plaintiff is entitled to Punitive damages based on the Defendants conduct and
               total disregard for his investment under Indiana Code § 34-51-3-1.

       WHEREFORE,Plaintiff prays for judgment against the Defendants for the $250,000.00,
punitive damages, cost, attorney’s fees, and all other relief that is just and proper.




                                                    Respectfully submitted



                                                    /s/ R David Bover II
                                                    R. David Boyer, II
                                                    110 West Berry St., Ste. 1910
                                                    Fort Wayne,IN 46802
                                                    260.407.7123(phone)
                                                    Attorney for Kevin R. Campbell
                                                    Supreme Court l.D. 20808-02




                                  CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the above and foregoing was served on
the following, by Electronic Case System to the following on the §:h day of October, 2022.

All Parties of Record

                                                     /s/ R. David Bover. II
                                                    R. David Boyer, II



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                              Exhibit A
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Kevin, 1 am the CEO of Regal Assets

From: tgallagher=regalassets.com@RegalAssets.securesend.org
      (tgaliagher=regalassets.com@regalassets.securesend.org)
To;     k.campbein @frontier.com
Date: Monday, March 22, 2021 at 11:19 AM EDT



Kevin,

My name is Tyler Gallagher and I am the current CEO of Regal Assets. I wanted to personally take the time
to introduce myself to you because I know how important this moment is for you. Regal Assets was built
around putting the client first, which starts witli proper communication and proper communication starts
from the top. I have made it my goal since starting with Regal Assets in 2009 to provide a customer service
experience like no other in our industry.

Kevin, I want you to receive nothing short of a five star customer service experience with Regal Assets.
This is something I take very seriously because I know that you can take your business anywhere. It is
important for me to stay on top of our customer service experience and to not let it slide. I would appreciate
greatly if you could help me do that. I can be reached anytime via email it does not matter what time of day
or week. I would be eternally grateful for all feedback good or bad. Tliis type of feedback is what has
helped us build Regal Assets into the incredible international company it is today.

Thank you again for your interest in Regal Assets and allowing us the privilege of working with you. I hope
to hear from you in the near futui-e.

Sincerely,

Tyler Gallagher



Regal Assets             Chief Executive Officer

200 West State Highway 6,4th Floor [ Waco,TX 76712                                     1 903 308 6433

Main: I 877 962 1133                 Fax; 1 877 962 1551                www.regalassets.com



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 responsible for deliveiy of the message to the intended recipient, is strictly prohibited.

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 the future, please unsubscribe.
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                              Exhibit B
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                KINGDOM
                     Trust
        1105 State Route 121 North, Suite B
                                                                                                                     Account Transfer
         P.O Box 870     Murray. KY 42071
    Office 270 226.1000
      IF; 888 753 6972
                             Pax 270 226.1001
                           KingdomTrust com
                                                                                                                                            For AH Account Types
 SECTION 1 - Accoiinl Holder Information

Full Name; Kevin R. Campbell                                                                                                                                         Date of Birth: 09/30/1954


Social Security Number;                                                          Kingdom Tmst Account Number RAP032908

Address: 9087 River Hollow CV

City; Fort Wayne                                                                              State: IN             ZIP Code; 46835

Daytime Phone Number: (260) 249-7595                                                              Email Address; k.campbelll ©frontier.com
Kingdom Trust Account Type:            [^Traditional IRA            □ Roth IRA                  □ SEP IRA                    □ SIMPLE IRA            I   I Benefici ary IRA
                                       r~l Individual              r~l Joint                    □ Trust                      □ Business

 SECTION 2 - Releasing Custodian Information
                                                                                                   Contact;
Company Fidelity Advisor Funds

Address: 100 Crosby Parkway Mail Zone KC1G

City: Covington                                                                               State: KY             ZIPCode: 41015

Phone Number: 800-522-7297/ FAX 888-321-7349                                            Account Number (with Releasing Custodian);          Y97114388

                                     PLEASE ENCLOSE A CURRENT STATEMENT FROM THE ACCOUNT BEING TRANSFERRED

    SECTION 3 - Transfer Instructions                                                                                                   Please request expanded form if more space required.

Directly transf^ all or part ofmypresent account with your organization in the manner indicated below.

Accepting Organization Name: The Kingdom Trust Company, Custodian, FBO                                        Participant Name: Kevin R. Campbell

Kingdom Trust Account Number: FRAP032908                                                          Date First Participated:                                 fTo be completed bypresent custodiarAnjstesj

Type of Account Being Transferred:            [xjTraditional IRA          □ Roth IRA                    □ SEP IRA                □ simple IRA*             □ Beneficiary IRA
                                              I I Individual              □ Joint                       I I Trust                i I Business

 ' ASIMPLEIftAmayorfy be trar\sfened to anotherSIMPLEIRAifplan participation is less thar^trvo years, fiberyou have participated inyour employer's SIMPLE plan for tAO years, however, you may transfer
from a SIMPLE IRA to to anyotherIRA other than a Roth IRA txmay convert it to a Roth IRA
     Transfer the assets in the mannerprescribed behw:
                                                     Asset Description                                                   Quantity in Account Quantity to Transfer Transfer as Cash Trarrsfer In-Kind
       Cash                                                                                                                                   250,000.00                  X




This Will (check one}               □ Completely Transfer (and Close) My Current Account                      [x] Partially Transfer My Current Account
I am aware thatpenalties maybe incuned if time deposits are liquidated prior to f/ierr mafurrty date.
     INTERNAL USE ONLY: ® Kingdom Trust 2019 ■ Account Transfer                                                                                                                         Page 1 of3
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 ♦j 1 KINGDOM TRUST                                                                                                                        Account Transfer
 SECTION 4 - Delivery Instructions
Indicate how your current custodian should send funds and releasing documents to Kingdom Trust fay choosing one of the options below.

Delivery Options for Check                                                                                                                     □ Mail Check (U.S. Postal Service)
                                           [x]Wire*                                          I     I Overnight Check (FedEx or UPS)*
Payments/Wire Transfers:                                                                                                                         Kingdom Trust
                                                                                                     Kingdom Trust
                                                                                                     1105 State Boute 121 N„ Suite 8             P.O. Box 870
                                                                                                     Murray. KY 42071                            Murray. KY 42071
When sending a check, whether through regular mail or overnight delivery, please be aware that funds will not be available for 2 days after the deposit has been made Please
make check payable to the account, such as "The Kingdom Trust Company, Custodian, FBO Account Holder's name, Account Number” for a Kingdom Trust IRA.

Delivery Options for Releasing                                                                   □ Mail Paperwork (U.S. Postal Service)
                                           I I Overnight Paperwork (FedEx or UPS)*
Documents (In-Kind Transfers):
                                               IGngdom Trust                                       Kingdom Trust
                                               1105 State Route 121 N.. Suite B                    P.O. Box 870
                                               Murray. KY 42071                                    Murray. KY 42071
’ Phase check with releasing custodian, as additional fees may apply.

 SECTION 5 - Depository Options                                                                                          This section is REQUIRED if transferring precious metals.

Please choose a depository option by checking the box immediately to tire left of the Depositoryyou wish touse(and doing the same for a specific location, if applicable)
Once you have made your election(s), please choose whether you wish to have your metals stored in a non-segregated manner (aggregated together with the metals
owned by other Kingdom Trust account holders) or in a segregated manner (stored separate from the metals owned by other Kingdom Trust account holders but still within
the storage space leased to Kingdom Trust) by checking the box immediately to the left of your choice, if applicable.
        I I Brinks Global Services*                                                       I I Non-Segregated Storage             n Segregated Storage
              O California: 1120 W. Venice Blvd., Los Angeles, CA 90015

              O New York: 18445 147th Ave., Sphngfield Gardens. NY 11413
              O Utah: 2179 S. 300 W„ Ste. 4, Salt Lake City, UT 84115

       i ! Delaware Depository 3601 North Market St.. Wilmington. DE 19802

       □ Rrst State Depository 100 Todds Lane, Wilmington, DE 19802                                I I Non-Segregated Storage                  O Segregated Storage (Gold Only)

       im International Depository Services (IDS)                                                     SEGREGATED STORAGE ONLY

              O Canada: 3300 Caroga Dr, Mississauga, ON, Canada LV41L4'                            Q Non-Segregated Storage                    O Segregated Storage

              O United States: 406 West Basin Rd., New Castle, DE 19720

        O Texas Precious Metals Depository 959 State Hwy 95N, Shiner, TX 77984                         SEGREGATED STORAGE ONLY



Sub-Account Number:

                                      IF TRANSFERRING IN-KIND, ASTATEMENT OF CURRENT METALS HOLDINGS MUST BE PROVIDED
* There wiUbe a handling charge of $25.00 per pad^age for ell metenalmoved out of a Brinks account.
“ In Ontario die Canadian government imposes a 13% Goods and Service Tax/Harmonized Seles Tax (GST/HST) on products entering Canada which do not meet a minimum purity requirement.

  SECTION 6-Age 70'/2 Reminder                                                                                                                        Applicable to IRA owners only.

1 understand tiiat if this transfer occurs during or after the calendar year during which I attain the age of 70 Vi die required minimum amount determined under this IRA must
still be distributed. I further understand that the current trustee/custodian is not responsible fo r making this distribution prior to the transfer. I accept full responsibility for
satisfying the required minimum distribution applicable to this IRA by withdrawing sufficient amounts from another IRA prior to the deadline for receiving minimum distributions
for the calendar year of the transfer. If diis transfer leaves the transferor IRA in one year but does not reach the transferee IRA until the following year, I understand that this will
be an "outstanding transfer" as of December 31. The new IRA must‘'deem" that the transfer was received as of the prior December 31 for determining any required minimum
distribution from the transferee IRA for the year that the transfer was received. I will inform the transferee IRA tiustee/custodian of any such outstanding transfer.




   INTERNAL USE ONLY: ® Kingdom Trust 2019 - Account Transfer                                                                                                             P3ge2of3
1

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     ♦i I KINGDOM TRUST                                                                                                                                Account Transfer
     SECTIOM 7 - Genera! Provisions & Signatures
                 If I have chosen a Depository above. I acknowledge that I, as the Account Holder, am also solely responsible for choosing the Depository in which the metals purchased
                 are stored. 1 also warrant that i have performed the due diligence I deemed necessary on the Depository I have chosen. I also warrant that neither Kingdom Trust nor any
                 of its employees or agents has made any representations or recommendations to me concerning the Depository I have chosen other than to advise me to perform rny
                 due diligence on any Depository I might consider.
    2.           I acknowledge that Kingdom Trust is acting solely as a directed custodian and represent that it provided no tax, legal or investment advice.
    3.           I have reviewed and hereby consent to the Kingdom Trust Fee Schedule, which outlines all fees associated with the purchase, sale, packing, shipping and storage of
                 precious metals (if applicable).
    4.           If transferring metals, 1 understand that all metals I direct to be transferred to my IRA or custodial account through Kingdom Trust will be stored at the Depository I have
                 selected in Section 5 above and hereby agree to said storage. I agree that toe Depository I selected shall be solely responsible for the storage and safekeeping of all
                 precious metals in my account
    5.           I understand that commingling regular IRA contribubons with previously rolled assets from an employer plan may preclude me from subsequently rolltng overfunds from
                 my rollover "conduit” IRA into another qualified plan or 403(b) plan. With such knowledge, I authorize and direct the custodian/trustee to place these transferred IRA
                 confribution assets in my rollover "conduit" IRA or visa versa. I acknowledge that certain transfers may be required to be reported to the IRS.
    6.           I hereby indemnify and hold Kingdom Trust harmless from any and all damages arising from or in connection with this Account Transfer.

    Participant’s Signature: X                                                                                                  Date;


    Participant’s Printed Name: Kevifl R. Campbell

    Medallion Stamp (If Required)*




    ' A medallion guarantee is only required when the asset being transferred is a security.

    Accepting Organization ● Our organization agrees to serve as the new custodian or trustee for the IRA or custodial account of the above-named individual, and as
    custodian or trustee, we agree to accept the assets being transferred.

    New Custodian or Trustee:       Kingdom Trust                                                                                           EIN Number:      XX-XXXXXXX

    Address:     PO Box 870


    City: Murray                                                                               Slate: KY          ZIPCode:     42071


    Authorized Signature for Accepting Organization: X                                                                                                   Date:




    Kingdom Trust does not provide tax, legal or investment advice. It does not endorse or recommend any agent company, or ^tedfic hvestment. Any ^formation comminicated by Kingdom Trust is solely for
    educationalpwposes and diouki not be construed as tax legal or investment advice, dxisultadonswithtax legalandinmtmentprofcssiaialsisadvisedpfiortomakinganydeosionsregardingyouraccount

         INTERNAL USE ONLY: © Kingdom Trust 2019 - Accoum Transfer                                                                                                                     F^ge3of3
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                               Exhibit C
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 %




INVOICE
BILL TO                                    SHIP TO                                                 INVOICE# 4133

                                           Delawtwe Depository Services                                 DATE 04/09/2021
Wngdom Trust Company FBO; Kevin
R. Campbell - IRA# RAP032908               Company
coniingled                                 3601 North Maikel Streei.
                                            VWImington. DE 19802
                                            IRA Account - RAP032908
                                            FBO - Kevin R. Canpb^l


ACCOUNT #
RAP032908



             QUANTITY   DESCRIPTION                                                                  UNIT PRICE            AMOUNT

                   6    1 oz. Silver Canadian Maple Leaf                                                       32.20          193.20

                   3                                                                                          319.00         957.00
                        5 gm. Gold Bar
                  123   1 oz. Gold American Eagle                                                        2.023.00         248.829.00




200 West Highv/ay 6. 4th Ftoor 1 Waco. TX 76712                        BALANCE DUE
Pfrone: +1 877-962-11.33|Fax:♦ I 877-962-1551 1 Web:                                                               $249,979.20
www.regalassels.com




                                               200 West Highway 6.4th Floor 1 Waco. TX 76712
                                Phone: ■♦■1 877-962-1133 1 Fax: +1 877-962-1551 I Web: wvAV.regalassets.com
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                               Exhibit D
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                 KINGDOM                                                                                                -ee Action
                       Trust                                                                                              Seauest
 Client Name:          Kevin Campbell                                                                 Account Number:         RAP032908
                                                                                                                                                                I
SECTION 1: FeeTypeis)and Requested Amount(s)
                                                  S                              □ Outgoing Wire Fee (International)                   $
□ Account Fees

□ Asset Re-Registration Fee                       s                              0 Precious Metals Storage or Depository Fees          $       100.00

□ Cashier's Check Fee                             $                              0 Purchase, Sale, Exchange or In-Kind Contribution $ |40.00
                                                                                     Fee
□ Check Disbursement Fee                          s
                                                                                 □ Real Estate Expense Fee (Per Item)                  $
□ Conversion or Recharacterization Fee            S
                                                                                 □ Reprocessing Fee                                    $
□ Insufficient Funds Fee*                         $
                                                                                 □ Rush Handling Fee                                   $
Q Invoice Fee                                     s
                                                                                 □ Setup Fee                                           $
□ Late Asset Valuation Fee                        $
                                                                                 □ Shipping and Mailing Fee                            $
□ Late Payment Fee                                $
                                                                                 □ Tax Form Reprocessing Fee                           $
 □ Medallions or Notarization Fee                 $
                                                                                 □ Termination Fee                                     $
 □ Misc. Activity, Extraodinary Items, or Research $
                                                                                 □ Transfer Out Fee (Per Asset)                        $
   (Hourly) Fee
                                                   S    3 5.00                   □ Unclassified/Miscellaneous                           $
 0 Outgoing Vi/ire Fee (Domestic)
 * Irdudes f^etm Check or Slop Payment


SECTION 2: ToUl(s)
                                                                                                               Waive    $
 Charge     $   1175.00                                 Refund   S
                                                                     Requires Management Approval                           Requires Management Approval It Over
                                                                                                                            $50 Per Account


 SECTION 3: Payment Type(s) (Check Multiple Boxes for Split Payments)
                                                       0 Credit Card         $     175 .00                 □ invoice                       S
 □ ACH             S
                                                       □ Digital Wallet      $                             □ Pull from Available           $
 □ Check           $
                                                                                                             Cash


 SECTION 4; Notes/Detaiis (If Applicable)

  Take fees from Regal CC on file.
  Please notify Clarisa when processed.

 SECTION 5: Signatures
                                               U--'-                                 Department      IS                          Date: 05/07/21
 Requesting Employee Signature;

 Double-Verifying Employee Signature;                                                      Department     IS                          Date; 05/07/21

  Confirmation of Receipt and Processing
                                                                                             Date;
  Billing Department Employee Signature:
                                                                                                                                                Last Updated 09.23.1B
   © Kingdom Trust 2018 - Fee Action Request
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                               Exhibit E
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Re: Kevin, I am the CEO of Regal Assets

From; k.campbell1@frontier.com (k.campbell1@frontier.com)
To:   tgallagher@regalassets.com
Date: Wednesday, July 28, 2021 at 03:28 PM EDT


Dear Mr. Gallagher,

I am very disappointed in what is happening with my purchase of metals. Started this process
back in March and am still waiting for the metals to be deposited into an account I supposedly
have with Kingdom Trust.

I have sent e-mails numerous times to Christian Howard with no response from him. The only
thing he has done was to send one of my e-mails to and individual named Leah Donoso. 1 have e-
mailed Mr. Donoso multiple times since he first responded and ! am getting the run around with
him. He writes back stating he is looking into it or will respond when he gets back and it is always
me that contacts him again because I wait for weeks for his reply and nothing. This is going on
almost 4 months now with nothing happening. I have also asked for updates as to what is
happening and nothing. 1 am now at wits end and thought I would contact you hoping for some
information. I have $250K sitting in Kingdom Trust 1 think not doing a thing. They tell me I will be
contacted byAccunet when the metals arrive. This has also not happened. I request your help in
this matter as I am not getting help from anyone else in Regal.

Regards,

Kevin Campbell
Tele.#(260) 249-7595

  On Monday, March 22, 2021, 11:19:20 AM EDT, <tgallagher=regalassets.com@regalassets.securesend.org> wrote:


  Kevin,

  My name is Tyler Gallagher and I am the current CEO of Regal Assets. I wanted to personally take the
  time to introduce myself to you because I know how important this moment is for you. Regal Assets was
  built around putting the client first, which starts with proper communication and proper communication
  starts from tlic top. I have made it my goal since starting with Regal Assets in 2009 to provide a customer
  service experience like no other in our industry.

  Kevin, I want you to receive nothing short of a five star customer service experience with Regal Assets.
  This is something I take veiy seriously because I know that you can take your business anywhere. It is
  important for me to stay on top of our customer service experience and to not let it slide. I would
  appreciate greatly if you could help me do that. I can be reached anytime via email it does not matter
  what time of day or week. 1 would be eternally grateful for all feedback good or bad. This type of
  feedback is what has helped us build Regal Assets into the incredible international company it is today.

  Thank you again for your interest in Regal Assets and allowing us the privilege of working with you. I
  hope to hear from you in the near future.
    USDC IN/ND case 1:22-cv-00350-HAB-SLC document 1 filed 10/05/22 page 19 of 29
Sincerely,

Tyler Gallagher


Regal Assets                 Chief Executive Officer
200 West State Highway 6, 4th Floor   Waco, TX 76712    1 903 308 6433
Main: 1 877 962 1133    Fax: 1 877 962 1551   www.regalassets.com


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This message was sent to k.campbell1@frontier.com. if you don’t want to receive these emails from this organization
in the future, please unsubscribe.
      USDC IN/ND case 1:22-cv-00350-HAB-SLC document 1 filed 10/05/22 page 20 of 29

Re: Kevin, 1 am the CEO of Regal Assets


From: k.campbelll@frontier.com (k.campbel!1@frontier.com)
To;   tgallagher@regalassets.com
Date; Wednesday, August 4, 2021 at 08:14 PM EDT


It has been over a week and still nothing, i am still waiting for some information on what has
happened. What do 1 need to do to get some answers?


 On Wednesday, July 28, 2021.3:50:44 PM EDT. Tyler Gallagher <tgallagher@regalassets.com> wrote:


 Hi Kevin,

 T will address this with our Team to see what is going on. This could very well be a vault issue with
  repoiting. Thank you for bringing this to my attention.

  Best,



  Tyler Gallagher

  Regal Assets      Chief Executive Officer

  280 South Beverly Drive, 5th Floor      Beverly Hills, CA 90212|1 213 814 6608
  Main: 1 877 962 1133       Fax: 1 877 962 1551 | Web: www.regalasscls.com
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From: k.campbelll@frontier.com <k.campbelil@frontier.com>
Sent: Wednesday, July 28, 202112:28 PM
To: Tyler Gallagher <tgallagher@regalassets.com>
Subject: Re: Kevin, I am the CEO of Regal Assets

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    USDC IN/ND case 1:22-cv-00350-HAB-SLC document 1 filed 10/05/22 page 22 of 29
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200 West State Highway 6, 4th Floor   Waco, TX 76712    1 903 308 6433
Main: 1 877 962 1133    Fax: 1 877 962 1551   www.regalassets.com
Uw
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in the future, please unsubscribe.
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Re: Kevin, 1 am the CEO of Regal Assets

From: Tyler Gallagher (tgallagher@regalassets.com)
To:     k.campbein @frontier.com
Date: Wednesday, August 4, 2021 at 11:09 PM EDT



Hello Kevin,

I personally reached out to the vault to have this coiTected. We were informed it would take 7-10 business
days for processing. I will have Leah call you tomorrow for the update.

I can't apologize enough for the en'or on our end with this.

Best,

Tyler Gallagher

Regal .\ssets            Chief Executive Officer

280 South Beverly Drive, 5th Floor | Beverly Hills, CA 90212                                    1 213 814 6608

Main: 1 877 962 1133                 Fax: 1 877 962 1551                Web; www.rcgalassets.com




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    USDC IN/ND case 1:22-cv-00350-HAB-SLC document 1 filed 10/05/22 page 24 of 29

From: k.campbelll@frontier.com <k.campbeill@frontier.com>
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To: Tyier Gallagher <tgallagher@regalassets.com>
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280 South Beverly Drive, 5th Floor                    Beverly Hills, CA 90212 | 1 213 814 6608
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      USDC IN/ND case 1:22-cv-00350-HAB-SLC document 1 filed 10/05/22 page 25 of 29

Re: Kevin, 1 am the CEO of Regal Assets

From: k.campbelll@frontier.com (k.campbeil1@frontier.com)
To:   tgallagher@regalassets.com
Date: Monday, August 8, 2022 at 11:31 AM EDI



Mr. Tyler Gallagher,

Very disappointed in how everything progressed or should I say didn't progress. This has been
going on too long now and should have been completed last years. It has been a year and a half
with nothing happening with the $250000 still pending that was sent to you from Kingdom Trust to
purchase gold. I have contacted your company many times over this time and getting the same
answer back stating they will get back with me which never occurs. I want to terminate the
agreement I had with Regal Assets and have my money returned to Kingdom Trust. I have started
working with another company and require the money you have that belongs to me. Please have
this returned ASAP.

Regards,

Kevin Campbell


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  Sincerely,

  Tyler Gallagher



  Regal Assets | Chief Executive Officer
USDC IN/ND case 1:22-cv-00350-HAB-SLC document 1 filed 10/05/22 page 26 of 29



                               Exhibit F
     The Kingdom Trust Company
     PO Box 870
      USDC    IN/ND case 1:22-cv-00350-HAB-SLC                     document 1 filed 10/05/22 page 27 of 29
     Murray, KY 42071


Kevin R Campbell Traditional IRA                                                                             KINGDOM
                                                                                                                 Trust

                                                                      Account:           RAP032908
      Kevin R Campbeil
      Kevin R Campbell                                                Report Period:     From 1/1/2021 To 12/31/2021
      9087 River Hollow Cv.
      Fort Wayne, IN 46835




                                                     Portfolio Summary
                                                 Market Value % Portfolio
                                                                                                                         CAS

Cash & Equivalents(CAS)                                $20.80      0.01%

Other(OTH)                                        $249,979.20     99.99%


Total Assets                                      $250,000.00     100.00%


Total Account Balance                              $260,000.00   100.00%




                                                                                     OTH




                                                      Activity Summary
                                                                                     Current Period                     Year To Date

                                                                                                $0.00                           $0.00
Beginning Market Value
Receipts
                                                                                        $250,000.00                       $250,000.00
     Contribution
                                                                                        $250,000.00                       $250,000.00
Total Receipts
                                                                                                $0.00                           $0.00
Change in Market Value
                                                                                        $250,000.00                       $250,000.00
Ending Market Value

                                                       Asset Statement

                                                                                         Unit                    %of        Unrealized
Ticker                                                                                                                       Gain/Loss
                                                                        Cost Basis      Price     Market Value   Acct
Symbol                    Units Description

Cash & Equivalents
  Cash
                                Principal Cash                              $20.80                      $20,80
                                Income Cash                                  $0.00                       $0,00
                                Total Cash                                  $20.80                      $20.80    0.0



                                                                                                                            Page 1 of 2
 4


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Kevin R Campbell Traditional IRA
                                                                                                                 KINGDOM
                                                                                                                  TRUST'

                                                      Asset Statement

Ticker                                                                                     Unit                   %of        Unrealized
Symbol                       Units Description                       Cost Basis           Price   Market Value    Acct        Gain/Loss

TOTAL Cash & Equivalents                                                   $20.80                      $20.80        0.0


Other
 Pending Precious Metals
PMPENDING          249.979,2       PENDING PRECIOUS               $249,979.20             $1,00   $249,979.20    100,0            $0.00
                                   METALS PURCHASE
 TOTAL Pending Precious Metals                                    $249,979.20                     $249,979.20    100.0            $0.00


TOTAL Other                                                       $249,979.20                     $249,979.20    100.0            $0.00



GRAND TOTAL ASSETS                                                $250,000.00                     $250,000.00    100.0            $0.00




                                                  Transaction Statement

Date           Description                                 Units / Price            Income Cash     Principal Cash            Cost Basis


Beginning Balances                                                                       $0.00             $0.00                 $0.00


Receipts

Contribution

4/7/2021       IRA CASH TRANSFER DEPOSIT                                                  $0.00       $250,000.00                 $0.00
               INC WIRE NSF UB REF# 2300



Total Contribution                                                                        $0.00       $260,000.00                 $0.00


investment Activity

5/7/2021       PURCHASE OF PRECIOUS METALS                   249.979.2                    $0.00     ($249,979.20)           $249,979.20
               PENDING PRECIOUS METALS                           $1.00
               PURCHASE(VMRE) Regal Assets
               OUTGOING WIRE FOR PM




Total investment Activity                                    249,979.2                    $0.00     ($249,979.20)           $249,979.20

Ending Balances                                                                          $0.00            $20.80           $249,979.20




                                                                                                                              Page 2 of 2
USDC IN/ND case 1:22-cv-00350-HAB-SLC document 1 filed 10/05/22 page 29 of 29



                               Exhibit G
